Case 4:24-cv-00953-P    Document 37     Filed 01/02/25     Page 1 of 1   PageID 331



                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION

     OUTSOURCING FACILITIES
     ASSOCIATION, ET AL.,

          Plaintiffs,

     v.                                                  No. 4:24-cv-00953-P

     UNITED STATES FOOD AND DRUG
     ADMINISTRATION, ET AL.,

          Defendants.
                                     ORDER
        Before the Court is Eli Lilly and Company’s Motion to Intervene.
     ECF No. 34. In its Motion, Eli Lilly indicates that Plaintiffs are opposed
     to its intervening in this case. Id. The Court finds it appropriate to
     expedite briefing on this issue. Consequently, it is ORDERED that
     Plaintiffs shall file their Response(s) on or before January 15, 2025;
     and Eli Lilly shall file its Reply on or before January 21, 2025.

          SO ORDERED on this 2nd day of January 2025.
